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 5                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
 6

 7   STATE OF WASHINGTON, STATE
     OF OREGON, STATE OF ARIZONA,                NO. 1:23-CV-3026-TOR
 8   STATE OF COLORADO, STATE OF
     CONNECTICUT, STATE OF                       ORDER GRANTING MOTION FOR
 9   DELAWARE, STATE OF ILLINOIS,                CLARIFICATION
     ATTORNEY GENERAL OF
10   MICHIGAN, STATE OF NEVADA,
     STATE OF NEW MEXICO, STATE
11   OF RHODE ISLAND, STATE OF
     VERMONT, DISTRICT OF
12   COLUMBIA, STATE OF HAWAII,
     STATE OF MAINE, STATE OF
13   MARYLAND, STATE OF
     MINNESOTA, and
14   COMMONWEALTH OF
     PENNSYVLANIA,
15
                              Plaintiffs,
16
           v.
17
     UNITED STATES FOOD AND
18   DRUG ADMINISTRATION,
     ROBERT M. CALIFF, in his official
19   capacity as Commissioner of Food and
     Drugs, UNITED STATES
20   DEPARTMENT OF HEALTH AND
     HUMAN SERVICES, and XAVIER


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 1    BECERRA, in his official capacity as
      Secretary of the Department of Health
 2    and Human Services,

 3                               Defendants.

 4

 5         BEFORE THE COURT are Defendants’ Motion for Clarification and

 6   Motion to Expedite. ECF Nos. 81 and 82. The Court has reviewed the record and

 7   files herein and is fully informed.

 8                                         DISCUSSION

 9         On April 7, 2023, this Court ordered that Defendants are preliminary

10   enjoined from altering the status or rights of the parties under the operative

11   Mifepristone REMS Program until a determination on the merits.

12         According to Defendants’ motion:

13             [T]he United States District Court for the Northern District of
               Texas entered an order invoking 5 U.S.C. § 705 to stay the
14             approval of the new drug application and abbreviated new drug
               application for mifepristone. See Alliance for Hippocratic
15             Medicine v. FDA, 2:22-cv-00223-Z, Dkt. 137 (Apr. 7, 2023).
               That court stayed its order for seven days to give FDA time to
16             seek relief from the United States Court of Appeals for the Fifth
               Circuit, and FDA is seeking an emergency stay pending appeal.
17             But if the Texas district court’s order takes effect, the order
               would—of its own force and without any further action by
18             FDA—stay the effectiveness of FDA’s prior approvals of
               mifepristone nationwide. See id.
19

20   ECF No. 81 at 2–3.



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 1          This Court declined to issue a nationwide injunction and only entered a

 2   preliminary injunction as it applies to Plaintiff States and the District of Columbia.

 3   As the Ninth Circuit recently held:

 4             Although “there is no bar against ... nationwide relief in federal
               district court or circuit court,” such broad relief must be
 5             “necessary to give prevailing parties the relief to which they are
               entitled.” Bresgal v. Brock, 843 F.2d 1163, 1170–71 (9th Cir.
 6             1987) (emphasis in original removed in part); see also Califano
               v. Yamasaki, 442 U.S. 682, 702, 99 S.Ct. 2545, 61 L.Ed.2d 176
 7             (1979) (“[I]njunctive relief should be no more burdensome to the
               defendant than necessary to provide complete relief to the
 8             plaintiffs” before the court). This rule applies with special force
               where there is no class certification. See Easyriders Freedom
 9             F.I.G.H.T. v. Hannigan, 92 F.3d 1486, 1501 (9th Cir. 1996)
               (“[I]njunctive relief generally should be limited to apply only to
10             named plaintiffs where there is no class certification”).

11   California v. Azar, 911 F.3d 558, 582–83 (9th Cir. 2018) (footnote omitted).

12          While courts have the authority to issue nationwide preliminary injunctions,

13   the Ninth Circuit cautions they are for “exceptional cases” that have proof of “an

14   articulated connection to a plaintiff’s particular harm.” E. Bay Sanctuary Covenant

15   v. Barr, 934 F.3d 1026, 1029 (9th Cir. 2019). “District judges must require a

16   showing of nationwide impact or sufficient similarity to the plaintiff states to

17   foreclose litigation in other districts.” Azar, 911 F.3d at 584; see also City & Cnty.

18   of San Francisco v. Trump, 897 F.3d 1225, 1244 (9th Cir. 2018) (noting record

19   must be developed on nationwide impact).

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 1       The Ninth Circuit expressed several concerns with overbroad injunctions:

 2           First, “nationwide injunctive relief may be inappropriate where a
             regulatory challenge involves important or difficult questions of
 3           law, which might benefit from development in different factual
             contexts and in multiple decisions by the various courts of
 4           appeals.” L.A. Haven Hospice, Inc. v. Sebelius, 638 F.3d 644,
             664 (9th Cir. 2011). The Supreme Court has repeatedly
 5           emphasized that nationwide injunctions have detrimental
             consequences to the development of law and deprive appellate
 6           courts of a wider range of perspectives. See Califano, 442 U.S.
             at 702, 99 S.Ct. 2545 (highlighting that nationwide injunctions
 7           “have a detrimental effect by foreclosing adjudication by a
             number of different courts and judges”); United States v.
 8           Mendoza, 464 U.S. 154, 160, 104 S.Ct. 568, 78 L.Ed.2d 379
             (1984) (concluding that allowing nonmutual collateral estoppel
 9           against the government would “substantially thwart the
             development of important questions of law by freezing the first
10           final decision rendered on a particular legal issue” and “deprive
             [the Supreme] Court of the benefit it receives from permitting
11           several courts of appeals to explore a difficult question before
             [the Supreme] Court grants certiorari”); Arizona v. Evans, 514
12           U.S. 1, 23 n.1, 115 S.Ct. 1185, 131 L.Ed.2d 34 (1995) (Ginsburg,
             J., dissenting) (“We have in many instances recognized that
13           when frontier legal problems are presented, periods of
             ‘percolation’ in, and diverse opinions from, state and federal
14           appellate courts may yield a better informed and more enduring
             final pronouncement by this Court”).
15
                                          * * *
16
             There are also the equities of non-parties who are deprived the
17           right to litigate in other forums. See Zayn Siddique, Nationwide
             Injunctions, 117 COLUM. L. REV. 2095, 2125 (2017) (“A
18           plaintiff may be correct that a particular agency action is
             unlawful or unduly burdensome, but remedying this harm with
19           an overbroad injunction can cause serious harm to nonparties
             who had no opportunity to argue for more limited relief”). Short
20           of intervening in a case, non-parties are essentially deprived of
             their ability to participate, and these collateral consequences are


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 1             not minimal. Nationwide injunctions are also associated with
               forum shopping, which hinders the equitable administration of
 2             laws. See Samuel L. Bray, Multiple Chancellors: Reforming the
               National Injunction, 131 HARV. L. REV. 417, 458-59 (2017)
 3             (citing five nationwide injunctions issued by Texas district courts
               in just over a year).
 4

 5   Azar, 911 F.3d at 583.

 6         Defendants seek clarification regarding their obligations in light of a

 7   potentially contradictory order out of the Northern District of Texas. ECF No. 81.

 8   That order is currently stayed and was not in effect at the time of this Court’s

 9   preliminary injunction. Id. at 2. Under these circumstances, because the Court has

10   jurisdiction over the parties before it and limited its preliminary injunction only to

11   the Plaintiff States and the District of Columbia, this Court’s preliminary

12   injunction was effective as of April 7, 2023 and must be followed by Defendants.

13   ACCORDINGLY, IT IS HEREBY ORDERED:

14         1. Defendants’ Motion for Clarification and Motion to Expedite, ECF Nos.

15             81 and 82, are GRANTED.

16         2. Pursuant to Federal Rule of Civil Procedure 65(a), irrespective of the

17             Northern District of Texas Court ruling or the Fifth Circuit’s anticipated

18             ruling, Defendants and their officers, agents, servants, employees,

19             attorneys, and any person in active concert or participation, are

20             PRELIMINARILY ENJOINED from:




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 1               “altering the status quo and rights as it relates to the availability of

 2               Mifepristone under the current operative January 2023 Risk

 3               Evaluation and Mitigation Strategy under 21 U.S.C. § 355-1 in

 4               Plaintiff States and the District of Columbia.”

 5         The District Court Executive is directed to enter this Order and furnish

 6   copies to counsel.

 7         DATED April 13, 2023.

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 9                                  THOMAS O. RICE
                                 United States District Judge
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